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lN THE UN|TED STATES DlSTR|CT COURT mfg W~ D'c-
FOR THE WESTERN DlSTRlCT OF TENNESSEE

 

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Plaintiff
vs.

cR. No. 04-20454-0

PATRicK WlLLlAMs

Defendant.

 

ORDER ON CONTlNUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Ju|y 21, 2005. At that time, counsel for the
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to October 3, 2005 with a

re ort date of Thursda Se tember 22 2005 at 9:00 a.m., in Courtroom 3l 9th Floor

 

ofthe Federal Bui|ding, Memphis, TN.

The period from August 12, 2005 through October 14, 2005 is excludable under
18 U.S.C. § 3161 (h)(B)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a speedy tria|.

|T |S SO ORDERED this 35 day Of JU|y, 2005.

§ERNICE § DONALD

UNlTED STATES D|STR|CT JUDGE

   

Thls document entered on the docket s
with Ftule 55 and/or 32[b) FFlCrP on

 

UNITED sATE DSTIIC COURT - WETERN DISTRCT oFTENNESSEE

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This notice confirms a copy of the document docketed as number 37 in
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Honorable Bernice Donald
US DISTRICT COURT

